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EXHIBIT A

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER; BRYAN AND
CHRISTY REHM; DEBORAH
FENIMORE AND JOEL LIEB; STEVEN
STOUGH; BETH EVELAND; CYNTHIA
SNEATH; JULIE SMITH; AND ARALENE
(“BARRIE”) D. AND FREDERICK B.
CALLAHAN,

Plaintiffs,
V.

DOVER AREA SCHOOL DISTRICT;
DOVER AREA SCHOOL DISTRICT
BOARD OF DIRECTORS,

Defendants.

 

 

PLAINTIFFS’ PROPOSED STIPULATIONS OF FACT

1. The Court has original jurisdiction pursuant to 28 U.S.C.

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Civil Action No. 04-CV-2688

Honorable John E. Jones III

Plaintiffs’ Proposed Stipulations of Fact

$§ 1331 and 1343 over plaintiffs’ causes of action arising under the First and

Fourteenth Amendments to the Constitution of the United States, 42 U.S.C.

§ 1983, and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

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Court has supplemental jurisdiction over plaintiffs’ causes of action arisin

the Constitution of the Commonwealth of Pennsylvania pursuant to 28 U.
§ 1367.

2. Venue is proper in this District pursuant to 28 U.S.C. §
because one or more defendants resides in this District, all defendants resi
Commonwealth of Pennsylvania and the events or omissions giving rise t
claims at issue occurred in this District.

3. Defendant Dover Area School District is a municipal
corporation with a board of directors, which is defendant Dover Area Sch
District Board of Directors. At all relevant times, defendants were acting
color of state law. The Dover Area School District is comprised of Dover
Township, Washington Township, and Dover Borough, all in York Count
Pennsylvania. There are approximately 3,700 students in the School Dist
approximately 1,000 attending Dover High School.

4.

On October 18, 2004, the board approved an amendm¢

Dover High School biology curriculum by a vote of 6-3. Board members

for the amendment were Alan Bonsell, Sheila Harkins, William Buckingh

Heather Geesey, Jane Cleaver, and Angie Yingling. Board members voti!

against the amendment were Noel Weinrich, Carol (Casey) Brown, and Je

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Brown. The biology curriculum was revised as reflected in Plaintiffs’ Ex]
attached hereto.

5. The Dover Area High School has received sixty donat¢

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hibit 1,

pd copies

of Of Pandas and People. They were donated by Donald Bonsell, father of board

member Alan Bonsell. William Buckingham wrote a check to Mr. Donald Bonsell

to contribute to the purchase of the books.

6. All board meetings from 2003-2005 occurred on the dates

reflected in the board minutes.

7. All votes on biology curriculum and the biology textbook

during the years 2003-05 are correctly portrayed in the board minutes.

8. On November 19, 2004, the district issued the press release

(Exhibit 2), attached hereto.

9, On January 18, 2005, administrators for the School District

made the statement to 9" grade biology students set forth in Exhibit 3, attached

hereto.

10. In June, 2005, administrators for the School District made the

statement to 9" grade biology students set forth in Exhibit 4, attached hereto.

11. The Dover Area School District does not require the reading of

similar statements for any other aspect of the science curriculum or as regards any

other scientific theory.

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12. During the week of February 14, 2005, the district mailed a
newsletter (Exhibit 5) to all parents of students in the Dover Area School District
regarding the change to the biology curriculum, which is attached hereto.

13. On April 23, 2005, at the request of the school board, Michael
Behe made a presentation on intelligent design to Dover citizens.

14. The defendant Dover School Board has the authority to set
official policy for the Dover Area School District. Accordingly, the October 18,
2004 Board resolution, the November 19, 2004 press release, the statements read to

students, and the newsletter represent official policy of the Dover Area School
District.
15. For any plaintiff not called to testy at trial, he or she would
testify that the facts alleged about that particular plaintiff in paragraphs 3-10 of the
Complaint were true for the 2004-05 school year. Those facts are:

a. Plaintiff Tammy J. Kitzmiller is a resident of Dover,
Pennsylvania. She is a parent of a child in the ninth
grade and a child in the eleventh grade at Dover High
School.

b. Plaintiffs Bryan and Christy Rehm are residents| of
Dover, Pennsylvania. They are parents to a child in the
eighth grade, a child in the second grade, a child in
kindergarten in the Dover Area School District, and a
child of pre-school age and intend for their children to
attend Dover High School.

c. Plaintiffs Deborah F. Fenimore and Joel A. Leib are

residents of Dover, Pennsylvania. They are the parents

-4.

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16.

a.

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Each plaintiff not called to testify at trial would also te

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of a child in the twelfth grade at Dover High School and
a child in the seventh grade in the Dover Area School
District and intend for that child to attend Dover| High

School.

Plaintiff Steven Stough is a resident of Dover,

Pennsylvania. He is a parent of a child in the eighth
grade in the Dover Area School District and intends for

his child to attend Dover High School.

Plaintiff Beth A. Eveland is a resident of York,
Pennsylvania. She is a parent of a child in the fi

rst grade

in the Dover Area School District and a child of|pre-

school age and intends for her children to attend
High School.

Plaintiff Cynthia Sneath is a resident of Dover,

Dover

Pennsylvania. She is a parent of a child in the first grade
in the Dover Area School District and a child of}pre-

school age and intends for her children to attend
High School.

Plaintiff Julie Smith is a resident of York, Penng
She is a parent of a child in the tenth grade at De
School.

Plaintiffs Aralene (Barrie) D. and Frederick B. q
are residents of Dover, Pennsylvania. They are

Dover

ylvania.
bver High

Pallahan
parents

of a child in the tenth grade at Dover High School.

That all the facts alleged in the Complaint are al

stify.

so true

for the 2005-06 school year, except that each child has

advanced one grade.

That he or she received a copy of the newsletter;

That he or she perceives the DASD policy, including the

change to the biology curriculum, the statement

read to

students, and the newsletter, as promoting and endorsing

religion.

 
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d. That he or she perceives intelligent design to be
religious, non-scientific concept.

of 22

17. Tammy Kitzmiller would testify that her daughter opted out of

biology class on January 18, 2005 when the statement was read to her clags.

18. For purpose of any challenge to standing of parents wh
children were past the 9" grade prior to the amendment to the biology cur

the testimony of one such parent-plaintiff will be deemed representative a

injury claimed by all such parent-plaintiffs.

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19. The April 1, 2003 memo authored by Trudy Peterman jwas

received by Superintendent Richard Nilsen and Assistant Superintendent Michael

Baksa.

20. No board member or district official ever sent a written request

to any newspaper for a retraction or correction of any article reporting on issues

relating to the biology curriculum.

21. Neither party will challenge the admissibility of any expert’s

testimony on the grounds that the expert is not qualified to testify on the subject

matter described in the expert’s report, except defendants reserve the right to

challenge the admissibility of plaintiffs’ expert Dr. Barbara Forrest on this basis.

This stipulation will not in any way preclude the parties from arguing

qualifications, credentials, experience or expertise as it relates to the weight to be

accorded to any expert’s testimony.

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Respectfully submitted,

 

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Dated: August 24, 2005

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AND

EVEN

STOUGH; BETH EVELAND; CYNTHIA

SNEATH; JULIE SMITH, AND
ARALENE (“BARRIE”) D. AND
FREDERICK B. CALLAHAN

 
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EXHIBIT 1

 
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EXHIBIT 2

 
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a: Dover Area School District

BOARD PRESS RELEASE FOR BIOLOGY CURRICULUM--11-19-04;
reposted 12-14-04

Oover Ares Board of Directors
Biology Curriculum Press Release

The Dover Area School District has issued the following statement concerning the
District's Biology curricutum. The District had determined to delay any official
pronouncement until the curriculum update and implementation were complete. The
Dover Area School District has been committed to developing a curriculum that
incorporates suggestions from the School Board, community, administration, teachers,
and the District solicitor. The District now has a completed Biology curriculum and
implementation procedure. in an attempt to clarify the District's policy and to correct
any misinformation concerning the biology curricutum, the District states the
following:

Over the past several months, the District's Board of Directors has been updating its
Science and Biology curriculum and adopting and approving support materials,
including textbooks. The School Board has undertaken considerable effort to develop
and adopt a fair and balanced science curriculum. During the course of discussions
about curriculum updates, numerous individuals and the media have made confusing,
conflicting, and Inaccurate statements, Many of these statements have been personal
opinions or misinterpretations of District activities and curricutum directives. Some
statements and opinions from the media, community members, and Board members,
which are completety inaccurate or false, have been assumed to be official District
policy or curriculum procedure. The following is the actual chronology of the District's
Biology curriculum development process and implementation.

Teachers in the science department researched and recommended to the
Administration the science textbook Biology (Prentice Hall) for its high school Biology
class, The District adopted and purchased 220 copies of this teacher-and
administration-recommended book.

The District also received a donation of 60 copies of Of Pandas and People (Haughton
Publishing Company) and that book now is listed as a reference book fn the
curriculum. It is not a required text, but, in an effort to present a balanced
curriculum, the book is made available to all students who wish to review it and the
ideas that are presented in the text.

The Biology curriculum also was updated to include the following preliminary
statement:

Students will be made aware of gaps/problems in Darwin’s Theory and of
other theories of evolution including, but not Umited to, Intelligent Design.
The Origins of Life is not taught.

in coordination with the science departrnent teachers, the District solicitor, and the
School Board, Mr. Michael Baksa, the Assistant Superintendent in charge of curriculum,
developed the following procedural statement that will be read to all students as the
new Biology curriculum is implemented beginning in January 2005:

The Pennsylvania Academic Standards require students to learn about
DEPOSITION Darwin's Theory of Evolution and eventually to teke a standardized test of
which evolution is a part.

Because Darwin's Theory fs a theory, it continues to be tested as new
evidence is discovered, The Theory fs not a fact. Gaps in the Theory exist for
which there is no evidence. A theory Is defined as a well-tested explanation
that unifies a broad renge of observations.

 

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Inteltigent Design ts an explanation of the orfgin of life that differs from
Darwin's view. The reference book, Of Pandas and People, is availabie for
students who might be interested in gaining an understanding of what
intelligent Design actually involves.

With respect to any theory, students are encouraged to keep an open

mind. The school leaves the discussion of the Origins of Life to individual
students ond thetr families. As a Standards-driven district, class frstruction
focuses upon preparing students to achieve proficiency on Standards-based
assessments.

The foregoing statements were developed to provide a balanced view, and not to
teach or present religious beliefs. The Superintendent, Or. Richard Nilsen, has directed
that no teacher will teach Intelligent Design, Creationism, or present his or her, or the
Board's, religious beliefs. The Dover Area School District supports, and does not
discriminate against, students and parents who have competing beliefs, especiatly in
the area of the Origin of Life debate. The School Board has noted that there are
opinions other than Darwin's on the Origin of Life. School districts are forums for
inquiry and critical discussions. The above statement and the District’s revised Biotogy
curriculum together provide an opportunity for open critical discussion--the real heart
® of scientific practice.

Mr. Baksa and Dr, Nilsen will monitor instruction to ensure that retigion is neither
inhibited nor promoted.

Posted-—1 2/14/04--2:31 9.1m,

Questions or Feedback?

 

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EXHIBIT 3

 
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ADMINISTRATOR’S BIOLOGY STATEMENT iftele >
IN BIOLOGY CLASS

He. (pe sa

L. Good morning/afternoon. I am, Mr-JeetRiedel and standing
over there is Dr. Richard Nilsen and-Mr-Michael-Baksa. 0 © fe. (Mme

2. You will soon begin to study Evolution in the class and the Board
of School Directors has directed that the following statement be
read. The statement is currently under litigation therefore; the
administration is reading the statement not the teacher.

3. A letter went home asking if anyone had a problem with the
statement and I would like to make sure at this time that everyone
who would prefer not to hear the statement is now out of the
classroom, anyone else? ,

4. OK, the statement:

The Pennsylvania Academic Standards require students to learn
about Darwin’s Theory of Evolution and eventually to take a
standardized test of which evolution is a part.

Because Darwin’s Theory is a theory, it continues to be tested as
new evidence is discovered. The Theory is not a fact. Gaps in the
Theory exist for which there is no evidence, A theory is defined as a
well-tested explanation that unifies a broad range of observations.

Intelligent Design is an explanation of the origin of life that differs
from Darwin's view. The reference book, Of Pandas and Peopie,
is available for students who might be interested in gaining an
understanding of what Intelligent Design actually involves.

With respect to any theory, students are encouraged to keep an open
mind. The school leaves the discussion of the Origins of Life to
individual students and their families. As a Standards-driven
district, class instruction focuses upon preparing students to achieve
proficiency on Standards-based assessments.

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5. _ As noted in the last paragraph of the statement there will be no
other discussion of the issue and your teachers will not answer
any questions on this issue. If you or your parents have any
questions, they can contact Dr. Nilsen, Mr. Baksa or Mr. Riedel.

6. Thank you and havea nice day.

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EXHIBIT 4

 
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ADMINISTRATOR'S BIOLOGY STATEMENT
IN BIOLOGY CLASS
(June 2005)

1. Good morning/afternoon. I am, Dr. Richard Nilsen and Mr.
Michael Baksa is standing over there.

2. You will soon begin to study Evolution in the class and the Board
of School Directors has directed that the following statement be
read. The statement is currently under litigation therefore; the
administration is reading the statement not the teacher.

3. A letter went home asking if anyone had a problem with the
statement and I would like to make sure at this time that everyone
who would prefer not to hear the statement is now out of the
classroom, anyone else?

4, Ok, the statement:

The Pennsylvania Academic Standards require students to learn
about Darwin's Theory of Evolution and eventually to take a
standardized test of which evolution is a part

Because Darwin's Theory is a theory, it continues to be tested as new
evidence is discovered. The Theory is not a fact. Gaps in the Theory
exist for which there is no evidence. A theory is defined as a well-

. tested explanation that unifies a broad range of observations.

Intelligent Design is an explanation of the origin of life that differs
from Darwins view. The reference book, Of Pandas and People, is
available in the library along with other resources for students who
might be interested in gaining an understanding of what Intelligent
Design actually involves.

With respect to any theory, students are encouraged to keep an open
mind. The school leaves the discussion of the Origins of Life to
individual students and their families. As a Standards-driven
district, class instruction focuses upon preparing students to achieve
proficiency on Standards-based assessment.

5. As noted in the last paragraph of the statement there will be no
other discussion of the issue and your teachers will not answer any
questions on the issue. If you or your parents have any questions,
they can contact Dr. Nilsen, Mr. Baksa or Mr. Riedel.

6. Thank you and have a nice day.

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EXHIBIT 5

 
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‘Dover Area School District News
rays Biology Curriculum Update

 

 

 

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the changes in she biology

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Frequently Asked Questions Continved

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